Case 2:10-cr-20057-PKH Document 328         Filed 12/28/16 Page 1 of 1 PageID #: 1254




                     IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

UNITED STATES OF AMERICA                                     PLAINTIFF/RESPONDENT

v.                               No. 2:10-CR-20057

NHAN VAN NGUYEN                                             DEFENDANT/PETITIONER

                                     JUDGMENT

      Pursuant to the order entered in this case on this date, IT IS CONSIDERED, ORDERED,

and ADJUDGED that the habeas petition in this case is DISMISSED WITH PREJUDICE.

      IT IS SO ADJUDGED this 28th day of December, 2016.


                                                      /s/P. K. Holmes, III
                                                      P.K. HOLMES, III
                                                      CHIEF U.S. DISTRICT JUDGE
